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ATTORNEY'S NAME:            Rodriguez, Michael I 10884
AND ADDRESS:                3524 Canal Street, New Orleans, LA 70119

                       CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
                                                 STATE OF LOUISIANA
            NO: 2021-04302                               DIVISION: N                                          SECTION: 08
                                                  CROCKETT, JAQUIN
                                                                                                                          SERVED ON
                                                              Versus                                                    R.KYLEARDOlN
                                   STATE FARM FIRE AND CASUALTY COMPANY                                                    JUN O9 2021
                                                           CITATION
                                                                                                                      SECRETARY OF STATE
TO:                    STATE FARM FIRE AND CASUALTY COMPANY                                                          COMMERCIAL DIVISION
THROUGH:               ITS AGENT FOR SERVICE OF PROCESS: LOUISIANA SECRETARY OF STATE
                       8585 ARCHIVES A VE., BA TON ROUGE, LA 7080

YOU HAVE BEEN SUED:
You must either comply with the demand contained in the
Petition for Damages
a certified copy of which accompanies this citation, or file an answer or other legal pleading in the office of the
Clerk of this Court, Room 402, Civil Courts Building, 421 Loyola Avenue, New Orleans, LA, within fifteen (15)
days after the service hereof under penalty of default.
                                         ADDITIONAL INFORMATION
      Legal assistance is advisable. If you want a lawyer and can't find one, you may call the New Orleans
      Lawyer Referral Service at 504-561-8828. This Referral Service operates in conjunction with the New
      Orleans Bar Association. If you qualify, you may be entitled to free legal assistance through Southeast
      Louisiana Legal Services (SLLS) at 877-521-6242 or 504-529-1000.
      ********COURT PERSONNEL ARE NOT PERMITTED TO GIVE LEGAL ADVICE********
IN WITNESS HEREOF, I have hereunto set my hand and affix the seal of the Civil District Court for the
Parish of Orleans, State of LA May 24, 2021

Clerk's Office, Room 402, Civil Courts                                       CHELSEY RICHARD NAPOLEON, Clerk of
421 Loyola Avenue                                                            The Civil District Court
New Orleans, LA                                                              for the Parish of Orr!i,;&J
                                                                             ~~at~~                  ..                      J


                                                                             Ellen Philbrick, Deputy Clerk

                                                      SHERIFF'S RETURN
                                                  (for use of process servers only)
                         PERSONAL SERVICE                                                   DOMICILIARY SERVICE
                                                   served a copy of   On this        day of                                          served a copy of
                                                                      the with~in___        -------
Petition for Damages                                                  Petition for Damages
ON STATE FARM FIRE AND CASUALTY COMPANY                               ON STATE FARM FIRE AND CASUALTY COMPANY
THROUGH: ITS AGENT FOR SERVICE OF PROCESS: LOUISIANA                  THROUGH: ITS AGENT FOR SERVICE OF PROCESS: LOUISIANA
SECRETARY OF STATE                                                    SECRETARY OF STATE
                         Returned the same day                        by leaving same at the dwelling house, or usual place of abode, in the hands of
~ - - - - - - - - - - - - N o. _ _ _ _ _ __                           ~ - - - - - - - - - ~ - - ~ a person of suitable age and
                                                                      discretion residing therein as a member of the domiciliary establishment, whose
Deputy Sheriff of _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                      name and other facts connected with this service I learned by interrogating
Mileage:$ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                          HIM/HER the said STATE FARM FIRE AND CASUALTY COMPANY being
                                                                      absent from the domicile at time of said service.
- - - - - - - - ~ / E N T E R E D /_ _ _ _ _ _ _ __                                                   Returned the same day
                  PAPER               RETURN                          _ _ _ _ _ _ _ _ _ _ _ _ _ No. _ _ _ _ _ __
                       I             I                                Deputy Sheriff of _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          SERIAL NO.         DEPUTY          PARISH




      ID: 10705809                                             Page 1 of 1                                                                       EXHIBIT
                                                                                                                                                        A
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              CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
                            STATE OF LOUISIANA

NUMBER:    JtJJ /- tJ #3 tJ7-
                                     JAQUIN CROCKETT

                                             -versus-

                     STATE FARM FIRE AND CASUALTY COMPANY

FILED: _ _ _ _ _ _ _ _ _ __
                                                           DEPUTY CLERK

                                  PETITION FOR DAMAGES

       The petition of JAQUIN CROCKETT, a full age resident of and domiciled in the Parish of

Orleans, State of Louisiana, with respect represents:

                                                 1.

        That the Defendant, STATE FARM FIRE AND CASUALTY COMPANY, a foreign

insurance company organized and chartered tmder the laws of a state other than the State of

Louisiana but authorized to do and doing business in the State of Louisiana, and more particularly,

the Parish of Orleans.

                                                  2.

        That the Defendant, State Farm Fire and Casualty Company, issued a policy of insurance in

 favor of the Petitioner, J aquin Crockett, which coverage afforded Petitioner vandalism coverage for

 a 2016. Porsche Cayenne and that the said vehicle was locked in a driveway in front of apartment

 compl~x located at 10151 Curran Boulevard, New Orleans, LA.

                                                  3.

         That the vehicle was left in a parking spot at the said location and was locked, and

 petitioner had possession of the key(s) to the said vehicle.

                                                   4.

         That on or about May 20, 2020 at approximately 8:30 p.m., the petitioner left his vehicle

 securely locked and parked at the referenced location and proceeded to a gathering; that upon

 Petitioner's return to his vehicle at approximately 10:50 p.m., Petitioner discovered that his

 vehicle had been broken into and vandalized; the said vandalism was reported to and investigated

 by the New Orleans Police Department.

                                                   5.

         That a claim was presented to the Defendant, State Farm Fire and Casualty Company,

                                                       1
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through its adjuster, Karen Gillespie, for payment of the amount of damages that were done to

the said insured vehicle and State Farm Fire and Casualty Company has refused to honor

Petitioner's claim.

                                                  6.

         The adjuster handling Plaintiff's vandalism claim, Karen Gillespie, has denied plaintiffs

claim based upon State Farm Fire and Casualty Company's alleged defenses that the loss does

not meet the insuring agreement of a sudden direct and accidental loss; the damage/theft is

excluded as it was caused by or at the direction of J aquin Crockett and that furthermore that

Jacquin Crockett was in violation of the concealment or fraud provision of the policy issued by

 State Farm Fire and Casualty Company to Jaquin Crockett.

                                                   7.

         The Petitioner claims that State Farm Fire and Casualty Company breached the obligation

 of good faith and fair dealing by failing to properly investigate petitioner's loss; that State Farm

 Fire and Casualty Company, the defendant, unreasonably failed to properly investigate the loss

 and denied coverage for the reasons listed above; that Petitioner was harmed and that the

 defendant's failure to properly investigate the loss was a substantial factor in causing Petitioner's

 harm.

                                                    8.

          Petitioner alleges that a defendant such as State Farm Fire and Casualty Company must

  thoroughly investigate a claim before denying it and must diligently search for evidence that

  supports the claim and must diligently consider evidence that supports the claim.

                                                       9.

          To the contrary, State Farm Fire and Casualty Company, the defendant, has chosen to

• impune Petitioner's character by alleging that its insured, Jaquin Crockett, caused the

  damage/theft to his vehicle by or at the direction of the Petitioner herein; that in addition thereto,

  the defendant, State Farm Fire and Casualty Company, has alleged that the Petitioner, Jaquin

  Crockett, has allegedly committed a fraud.

                                                       10.

           That the Petitioner, Jaquin Crockett, alleges that the Defendant, State Farm Fire and

  Casualty Company, is liable unto your petitioner for the value of his vehicle described herein and

                                                        2
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I   . ....




furthermore that the Defendant, State Farm Fire and Casualty Company, through its adjuster,

Karen Gillespie, be deemed to have inappropriately alleged your petitioner to be guilty of fraud

and to have created this loss through his own endeavor.

                                                     11.

              That the Defendant, State Farm Fire and Casualty Company is to be held liable for bad

faith dealings with its insured and inappropriately alleging that its insured was guilty of fraud;

that the said acts were committed through its insurance personnel, including Karen Gillespie, and

that the said Defendant, State Farm Fire and Casualty Company, be held liable for such

unfounded accusations against its insured, J aquin Crockett.

               WHEREFORE, Petitioner prays that the Defendant be served with a copy of this

 Petition; that it is duly cited to appear and answer same, and after due proceedings had, there is

 judgment herein in favor of your Petitioner, JAQUIN CROCKETT, in an amount which would.

    be just and reasonable under the facts and circumstances of this case; and against the Defendant,

    STATE FARM FIRE AND CASUALTY COMPANY, together with legal interest thereon from

    date of judicial demand, until paid, for all costs of these proceeding, sanctions, penalties,

    attorney's fees and principal amount for the said judgment, and for all general and equitable

    relief.


                                               sp                                     ~

                                         A  MICHAEL I.
                                            Attorney for Plaintiff
                                            3524 Canal Street
                                            New Orleans, Louisiana 70119
                                                                                       .(BR #10884)



                                            Telephone (504) 588-1110
                                            Facsimile: (504) 588-1954
                                            Email: mrodri6819@aol.com

    PLEASE SERVE:

     1).       STATE FARM FIRE AND CASUALTY COMPANY
               Through its Agent for Service of Process
               Louisiana Secretary of State
               8585 Archives Ave.
               Baton Rouge, LA 7080




                                                                                                ATRUE COPY

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                                                                                                    PARISH OF ORLEANS
                                                                                                       STATE OF LA
